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The Geographic Distribution
of China's Last Nam_es, in
Maps

Despite its massive population, China's list of common last
names is very small. Here's Where people With these names
are concentrated

MATT SCH|AVENZA OCT 22, 2013

One of the most striking things you realize after spending time in
China is how certain last names are very, very common. When I
taught high-school English in ]iangsu Province in 20 04, I remember
there being at least eight-out of a class of about go-students
surnamed Wang, and two of those shared a first name. Fortunately,
all of my students adopted English nicknames, making it easier for

me to remember Who Was Who.

For a country of 1.3 billion people, there is a remarkably small
number of common last names in China. An estimated 87 percent
of the population shares one of loo surnames, and more than one
in five Chinese citizens is surnamed Li, Wang, or Zhang: more than
275 million people in all. (By contrast, 90 percent of the United
States population encompasses over 150,ooo different last names).

Less knoWn, however, is that the most common Chinese names
have a geographic “base” Within the country. These fascinating
M, put together by China-focused Writer AndreW Stokols using DEFENDANT¢S '
data from this site, tell us Where' Chinese names are most heavily § 1 EXH'B'T 7

 
    

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concentrated in the country. Li, Wang, and Zhang, Which comprise
over 20 percent of the population, are most commonly found in
China's northeast, Where the ethnic Han majority is most
predominantn Here is a map, for example,'of the surname Li:

   

 

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And here's Wang:

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N ot all highly-common names are common in the Northeast,
however.. ”l`ake Chen, for example, Which dominates China's `
southeastern provinces°

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And here's Ma (Which literally means “horse”); due to the name's
historic association With China's Muslim Hui minority, people
surnamed Ma are common in the northwest of the country, Where
much of China's lslamic population is based.

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Of course, that certain last names have geographic bases Within a
country is hardly unusual; A.mericans With Scandinavian surnames,
for example, are very common in states like Minnesota and the
Dakotas. But What Will be interesting is revisiting these maps in zo
or go years.. internal migration-a force that affects at least a tenth
of China's population, and probably much higher~has only been a
major force in the country over the last two decades, and its effects
on the country's demographics are only partly understood ln the
end, China's distribution of family names seems poised to scatter..

We want to hear Whatyoa think about this article., Sahmit a letter to
the editor ar write to letters@theatlantie,eom,

 

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